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1    Stephen G. Larson (SBN 145225)
     slarson@ larsonllp.com
2    Koren L. Bell (SBN 216684)
     kbell@larsonllp.com
3    Paul A. Rigali (SBN 262948)
     prigali@larsonllp.com
4    Jonathan D. Gershon (SBN 306979)
     jgershon@larsonllp.com
5    LARSON LLP
     555 South Flower Street, Suite 4400
6    Los Angeles, CA 90071
     Telephone: 213.436-4888
7    Facsimile: 213.623-2000
8    Attorneys for Plaintiffs
     MOSAFER INC.;
9    MOSAFER E-COM, INC.;
     AND GOMOSAFER
10

11
                           UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14

15   MOSAFER INC.; MOSAFER E-COM, CASE No. 2:21-cv-06320 MCS (JCx)
     INC.; and GOMOSAFER,             To be related to: 2:18-CV-02421-JFW
16
                          Plaintiffs.
17                                    NOTICE OF RELATED CASES [L.R.
           vs.                        83-1.2.2; 83-1.3.1]
18
     ELLIOT BROIDY; GEORGE
19   NADER; BROIDY CAPITAL
     MANAGEMENT, LLC; CIRCINUS,       Judge: Hon. Mark C. Scarsi
20   LLC; THE IRON GROUP INC. D/B/A
     IRONISTIC.COM; SCL SOCIAL
21   LIMITED; PROJECT ASSOCIATES      Complaint Filed:      August 5, 2021
     UK LTD; MATTHEW ATKINSON;        Counterclaim Filed: October 10, 2021
22   and JOHN DOES 1-100,
23
                        Defendants.
24
     AND RELATED COUNTERCLAIMS
25

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                          NOTICE OF RELATED CASES [L.R. 83-1.2.2; 83-1.3.1]
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1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
2    RECORD:
3          In accordance with Local Rules 83-1.2.2 and 83-1.3.1, Plaintiffs Mosafer Inc.,
4    Mosafer E-Com, Inc., and Gomosafer (collectively, “Plaintiffs”) file this Notice of
5    Related Cases on the grounds that this Action has become related to Broidy Capital
6    Management, LLC et al. v. State of Qatar et al., Case No. 18-cv-02421-JFW (“Broidy
7    v. Qatar”) upon Elliot Broidy, Broidy Capital Management, LLC (“BCM”), and
8    Circinus, LLC filing their Counterclaim. [Doc. 46].
9          Pursuant to Local Rule 83-1.2.2:
10               Whenever an action is dismissed by a party or by the Court
11
                 before judgment and thereafter the same or essentially the
                 same claims, involving the same or essentially the same
12               parties, are alleged in another action, the later-filed action
13               shall be assigned to the judge to whom the first-filed action
                 was assigned. It shall be the duty of every attorney in any
14               such later-filed action to bring those facts to the attention of
15               the Court in the Civil Cover Sheet and by the filing of a
                 Notice of Related Case(s) pursuant to L.R. 83-1.3.
16

17         Broidy v. Qatar was filed by Broidy and BCM in this District on March 26,

18   2018 based on allegations that “Qatar initiated a hack-and-smear operation against

19   Broidy.” Counterclaim ¶ 37. On August 8, 2021, the court in Broidy v. Qatar, the

20   Honorable John F. Walter presiding, granted Qatar’s Motion to Dismiss pursuant to

21   12(b)(1) and 12(b)(2) on the grounds that Qatar was immune from suit under the

22   Foreign Sovereign Immunities Act. [Broidy v. Qatar, Doc. 198]; see also

23   Counterclaim ¶ 37 (“Qatar willingly embraced the protections afforded by foreign

24   sovereign immunity and did not respond to the merits of Broidy’s claims, and the

25   District Court dismissed on those grounds.”). When the remaining defendants’ claims

26   were dismissed, the court entered a Final Judgment of Dismissal on September 27,

27   2018. [Broidy v. Qatar, Doc. 227]. This judgment was appealed by Broidy and

28   ultimately affirmed by the Ninth Circuit. [Broidy v. Qatar, Doc. 247, 250].

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                           NOTICE OF RELATED CASES [L.R. 83-1.2.2; 83-1.3.1]
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1          The Counterclaimants concede, as they must, that they are attempting to
2    “revive” these previously dismissed claims and that they “brought the substance of
3    these claims against Qatar in this court previously.” Counterclaim, ¶¶ 3, 248. Indeed,
4    both the Counterclaim and Broidy v. Qatar include identical causes of action being
5    asserted by Broidy and BCM against the State of Qatar for (1) Violation of the
6    Computer Fraud and Abuse Act, (2) Violation of the California Comprehensive
7    Computer Data Access and Fraud Act, (3) Receipt and Possession of Stolen Property
8    in Violation of Cal. Pen. Code § 496, (4) Invasion of Privacy by Intrusion Upon
9    Seclusion, (5) Conversion, (6) Violation of the Stored Communications Act, (7)
10   Violation of the Digital Millennium Copyright Act, (8) Violation of the California
11   Uniform Trade Secrets Act, and (9) Violation of the Defend State Secrets Act. See
12   Counterclaim Counts 4-12; cf. Broidy v. Qatar, Doc. 47, Causes of Action Nos. 1-9.
13         Accordingly because (a) the claims against Qatar in Broidy v. Qatar were
14   dismissed by the Court before a judgment was entered, (b) the instant Counterclaims
15   involve the same or essentially the same claims as in Broidy v. Qatar, and (c), these
16   claims involve the same parties—BCM, Broidy, and the State of Qatar—Local Rule
17   83-1.2.2 requires that this Action be reassigned to the Honorable John F. Walter, the
18   judge who presided over Broidy v. Qatar. See, e.g., Tittl v. Hilton Worldwide, Inc.,
19   2013 WL 1087730, at *8 (E.D. Cal. Mar. 14, 2013) (confirming that Local Rule 83-
20   1.2.2 would “in fact” assure that a newly-filed case is assigned in the Central District
21   to the judge who handled the older case, dismissing identical claims, because Local
22   Rule 83-1.2.2 “envisions that there need not be an existing case pending before the
23   newly-filed case is assigned to the judge who handled the older case”); see also
24   Shields v. Amerigas Propane, Inc., 2015 WL 5436772, at *6 (E.D. Cal. Sept. 15,
25   2015) (transferring case to the Central District because Local Rule 83-1.2.2 ensured
26   that it would be heard by Judge Morrow who “after presiding over that case for nearly
27   two years” had “a depth of familiarity with the subject matter implicated by this case
28   that the court cannot overlook.”).

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                            NOTICE OF RELATED CASES [L.R. 83-1.2.2; 83-1.3.1]
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1          Moreover, independent of Rule 83-1.2.2, this Action is related to Broidy v.
2    Qatar based on Local Rule 83-1.3.1 because the Counterclaim brings the identical
3    claims decided in Broidy v. Qatar. This rule provides that cases are related if they
4    “(a) arise from the same or a closely related transaction, happening, or event; (b) call
5    for determination of the same or substantially related or similar questions of law and
6    fact; or (c) for other reasons would entail substantial duplication of labor if heard by
7    different judges.” L.R. 83-1.3.1.
8          Although any one of these three criteria are grounds for deeming the cases
9    related, here all three criteria are met. Because the Counterclaims against Qatar are
10   identical to claims already decided by the Court in Broidy v. Qatar, the two actions
11   arise from the same events, call for determination of the same questions of law and
12   fact, and would entail substantial duplication of labor if these claims were heard by
13   different judges.
14         For the foregoing reasons, Plaintiffs respectfully submit that the above-
15   captioned action qualifies for related-case transfer to Judge Walter under both Local
16   Rule 83-2.2 and Local Rule 83-1.3.1. See also General Order 21-01 § II.H (“When a
17   newly filed civil case is identified as identical to a previously filed civil case, pending
18   or closed, the Clerk will prepare a proposed order to transfer the newly filed case to
19   the judge assigned the previously filed case and will present the proposed order to the
20   Case Management and Assignment Committee Chair for signature.”).
21         Further, the substantial similarity between the two matters separately justifies
22   this Court voluntarily transferring the Action to Judge Walter in the exercise of
23   discretion. See General Order 21-01 § II.C (“Any case may be transferred from one
24   judge to another by order jointly signed by the transferor and transferee judges….”).
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                            NOTICE OF RELATED CASES [L.R. 83-1.2.2; 83-1.3.1]
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1    DATED: October 13, 2021                       LARSON LLP
2
                                              By: /s/ Stephen G. Larson
3                                                Stephen G. Larson
4                                                Koren L. Bell
                                                 Paul A. Rigali
5                                                Attorneys for Plaintiffs MOSAFER
6                                                INC., MOSAFER E-COM, INC.,
                                                 and GOMOSAFER
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                        NOTICE OF RELATED CASES [L.R. 83-1.2.2; 83-1.3.1]
